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U. S. Department of Justice

Dmg Enforcement Administration
=) SOUTH CENTRAL LABORATORY
10150 £. TECHNOLOGY BOULEVARD
DALLAS, TX 75220-43777
972-559-7900

JAMES BRUCE TWAMOTO--FORENSIC CHEMIST—1988—SOUTH CENTRAL LAB

PRIMARY DUTIES: Identify and determine which, if any, controlled substances are Present in

evidence and in what concentration.

SECONDARY DUTIES: Testify in Federal and State Courts in civil and criminal proceedings
about evidence identification and composition. Provide technical
assistance and formal training to federal and state agents & chemists.
Participate in Clandestine Laboratory Investigations. Other ancillary
responsibilities in the lab and outside.

SOURCES OF EVIDENCE: DEA, USCS, USBP, FBI, ATF, INS ~NM, TX, OK, AR, LA, MS,A]

EDUCATION & EXPERIENCE: BS CHEMISTRY -13 YEARS INDUSTRIAL, DEA 1988
DEA TRAINING: FORENSIC CHEMIST TRAINING 4 MONTHS DALLAS LAB
NEW CHEMIST SCHOOL 3 WEEKS QUANTICO VA
INSTITUTE OF MOLECULAR SPECTROSCOPY 1 WEEK TEMPE AZ
CLAN LAB INVESTIGATION SCHOOL 2 WEEKS QUANTICO VA
ADVANCED FORENSIC CHEMIST SCHOOL 1 WEEK QUANTICO VA
INTERNATIONAL CONFERENCE OF ION MOBILITY 1 WEEK
QUEBEC,CANADA
PUBLICATIONS- 5- 1 FORENSICS, 1- INDUSTRY, 3- BASIC RESEARCH

EXPERT WITNESS QUALIFICATIONS: TEXAS-Amarillo, Austin, Beaumont, Brownsville,
Corpus Christi, Corsicanna, Dallas, Del Rio, Edinburg, El] Paso, Fort Worth, Galveston, Houston,
Laredo, Lubbock, McAllen, McKinney, Midland, San Antonio, Tyler, Sherman, Tyler, Pecos NEW
MEXICO-Albuquerque, Las Cruces, Santa Fe OKLAHOMA- Oklahoma City, Tulsa, Muskogee
ARKANSAS-Fort Smith, Fayetteville, Harrison, Little Rock LOUISIANA- Baton Rouge, Gretna,
New Orleans, Shreveport MISSISSIPPI-Aberdeen, Biloxi, Columbus, Hattiesburg, Jackson,
Oxford, ALABAMA-Binningham, Mobile, Montgomery, COLORADO- Denver, MICHIGAN -
Lansing
CLANDESTINE LABORATORY EXPERIJENCE- 200+ Dismantled and Analyzed (AMPH,
METH, X & X analogs, PCP, LSD, STP) in NM, TX, OK, AR, LA, MS, & AL
PREVIOUS EXPERIENCE: OIL AND GAS INDUSTY WITH ENSERCH-LONE STAR GAS
SUGAR INDUSTRY WITH UTAH IDAHO SUGAR
METALS AND BASIC INDUSTRY — MARTIN-MARIETTA

GOVERNMENT
i EXHIBIT

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